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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-00377-WDM-BNB

  MOISES CARRANZA-REYES,

         Plaintiff,

  v.

  THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;
  FRED WEGENER, individually and in his official capacity as Sheriff of Park County, Colorado;
  MONTE GORE, individually and in his official capacity as Captain of Park County Sheriff’s
  Department;
  VICKIE PAULSEN, individually, and in her official capacity as Registered Nurse for Park
  County, Colorado; and
  JAMES BACHMAN, M.D., individually and in his official capacity as Medical Director of the
  Park County Jail;

         Defendants.



          MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S
               SECOND SET OF REQUESTS FOR PRODUCTION OF
           DOCUMENTS FROM DEFENDANTS PARK COUNTY BOARD OF
          COUNTY COMMISSIONERS, FRED WEGENER AND MONTE GORE


         Defendants Park County Board of County Commissioners, Fred Wegener, and Monte

  Gore, by and through their counsel, Andrew D. Ringel, Esq. and Jennifer L. Veiga, Esq. of Hall

  & Evans, L.L.C., hereby submit this Motion for Extension of Time to Respond to Plaintiff’s

  Second Set of Requests for Production of Documents, as follows:

         1.      Plaintiff served his Second Set of Requests for Production of Documents on these

  Defendants on December 28, 2005. Accordingly, pursuant to the applicable Federal Rules of

  Civil Procedure, these Defendants’ responses to the Plaintiff’s Second Set of Requests for
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  Production of Documents are due on January 30, 2006. Defendants respectfully request an

  extension of ten (10) days until and including February 9, 2006, to provide their responses to the

  Plaintiff’s written discovery. Despite diligent efforts, these Defendants and counsel for these

  Defendants require additional time to compile the information and documents responsive to the

  Plaintiff’s written discovery requests and to prepare appropriate responses. Plaintiff’s Second

  Requests for Production of Documents requires the Defendants to examine a vast amount of

  documentary material to determine all responsive documents which has taken considerable time

  and effort for Park County officials to obtain. No party will be prejudiced by this brief extension

  of time.

         2.      Pursuant to D.C.Colo.L.Civ.R. 7.1(A) counsel for these Defendants contacted

  counsel for the Plaintiff, William A. Trine, Esq., Lloyd Kordick, Esq. and Joseph Archuleta, Esq.

  via electronic mail on January 26, 2006, prior to filing the instant Motion. Mr. Trine responded

  via electronic mail that he did not have any objection to the instant Motion, but that he wo uld

  defer to Mr. Kordick and Mr. Archuleta. By the time it became necessary to file the instant

  Motion, the undersigned counsel had not had a response from Mr. Kordick or Mr. Archuleta to

  his inquiry. As a result, the Plaintiff’s formal position with respect to this Motion remains

  unknown at this time.

         3.      In addition, also pursuant to D.C.Colo.LCiv.R. 6.1(D), undersigned counsel has

  served his client representative with a copy of this Motion as indicated on the attached

  Certificate of Mailing.

         WHEREFORE, for all of the foregoing reasons, Defendants Park County Board of

  County Commissioners, Fred Wegener, and Monte Gore respectfully request an extension of


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  time to respond to the Plaintiff’s Second Requests for Production of Documents for ten (10) days

  until and including February 9, 2006, and for all other and further relief as this Court deems just

  and appropriate.

                                Dated this 27th day of January, 2006.

                                                       Respectfully submitted,


                                                       s/Andrew D. Ringel, Esq.
                                                       Andrew D. Ringel, Esq.
                                                       Jennifer L. Veiga, Esq.
                                                       Hall & Evans, L.L.C.
                                                       1125 17th Street, Suite 600
                                                       Denver, Colorado 80202-2052
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                                                       ATTORNEYS FOR DEFENDANTS
                                                       PARK COUNTY BOARD OF COUNTY
                                                       COMMISSIONERS, FRED WEGENER
                                                       AND MONTE GORE




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                                     CERTIFICATE OF SERVICE (CM/ECF)

           I HEREBY CERTIFY that on the 27th day of January, 2006, I electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system which will send notification of such
  filing to the following e- mail addresses:

  Joseph J. Archuleta, Esq.                                                  Lloyd C. Kordick, Esq.
  archuletalaw@qwest.net                                                     lloyd@kordicklaw.com

  William A. Trine, Esq.                                                     Adele P. Kimmel, Esq.
  btrine@trine- metcalf.com                                                  akimmel@tlpj.org

  Richard H. Frankel, Esq.                                                   Craig A. Sargent, Esq.
  rfrankel@tlpj.org                                                          csargent@jmspc.com

  Andrew W. Jurs, Esq.                                                       Josh A. Marks, Esq.
  ajurs@jmspc.com                                                            jam@bhgrlaw.com

  Melanie B. Lewis, Esq.
  mbl@bhgrlaw.com

        and hereby certify that I have mailed or served the document or paper to the following
  non-CM/ECF participant via U.S. Mail, first-class postage prepaid and addressed as follows:

  Stephen Groome, Esq.
  Park County Attorney
  P.O. Box 1373
  Fairplay, Colorado 80440
                                                                        s/Loree Trout, Secretary
                                                                          Andrew D. Ringel, Esq.
                                                                          Hall & Evans, L.L.C.
                                                                          1125 17th Street, Suite 600
                                                                          Denver, CO 80202-2052
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                                                                          ATTORNEYS FOR DEFENDANTS
                                                                          PARK COUNTY BOARD OF COUNTY
                                                                          COMMISSIONERS, FRED WEGENER
                                                                          AND MONTE GORE



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